   Case:22-10356-SDB Doc#:19-1 Filed:09/06/22 Entered:09/06/22 11:57:01                               Page:1 of 1
                          UNITED STATES BANKRUPTCY COURT
                                         Southern District of Georgia

In re:                                                                        Case No.: 22−10356−SDB
Lorenzo D. Nealious and Tamiko F. Nealious,                                   Judge: Susan D. Barrett
       Debtors.
                                                                              Chapter: 7

                       NOTICE OF CHAPTER 7 CASE CLOSED WITHOUT DISCHARGE


     All creditors and parties in interest are notified that the above−captioned case has been closed without entry of
discharge as Debtor did not file Official Form 423, Debtor's Certification About a Financial Management Course.



                                                                           Lucinda Rauback, Clerk
                                                                           United States Bankruptcy Court
                                                                           Federal Justice Center
                                                                           600 James Brown Blvd
                                                                           P.O. Box 1487
                                                                           Augusta, GA 30903

Dated September 6, 2022



Ch7 ClsNoDsc[Rev. 12/15] VWW
